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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NEW YORK


  WILLIAM JOHNSON,                                          Case No. _____________

                          Plaintiff,
                                                            COMPLAINT FOR VIOLATIONS
             v.                                             OF THE FEDERAL SECURITIES
                                                            LAWS
  HEALTHCARE TRUST OF AMERICA, INC.,
  W. BRADLEY BLAIR, II, RESHMA BLOCK,
                                                            JURY TRIAL DEMANDED
  VICKI U. BOOTH, H. LEE COOPER,
  WARREN D. FIX, PETER N. FOSS, JAY P.
  LEUPP, and CONSTANCE B. MOORE,

                          Defendants.




        Plaintiff William Johnson (“Plaintiff”), by and through his undersigned counsel, for his

 complaint against defendants, alleges upon personal knowledge with respect to himself, and upon

 information and belief based upon, inter alia, the investigation of counsel as to all other allegations

 herein, as follows:

                         NATURE AND SUMMARY OF THE ACTION

        1.        This is a stockholder action brought by Plaintiff against Healthcare Trust of

 America, Inc. (“HTA” or the “Company”) and the members of HTA’s Board of Directors (the

 “Board” or the “Individual Defendants”) for their violations of Sections 14(a) and 20(a) of the

 Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. §§ 78n(a), 78t(a), and U.S.

 Securities and Exchange Commission (“SEC”) Rule 14a-9, 17 C.F.R. §240.14a-9 (“Rule 14a-9”),

 in connection with the Board’s attempt to merge HTA with Healthcare Realty Trust Incorporated

 (“HR”) (the “Proposed Transaction”).
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        2.      On February 28, 2022, HTA entered into an Agreement and Plan of Merger with

  HR, Healthcare Trust of America Holdings, LP (“Company OP”) and HR Acquisition 2, LLC

  (the “Merger Agreement”). Pursuant to the terms of the Merger Agreement, HTA will acquire

  HR and each outstanding share of HR common stock will be converted into the right to receive

  1.00 newly-issued share of HTA common stock. Upon closing of the Proposed Transaction,

  holders of Company common stock will receive a special distribution in the amount of $4.82 in

  cash per share of HTA common stock held.

        3.      Under the Merger Agreement, the Company is required to issue additional shares

  of HTA common stock to HR shareholders (the “Share Issuance”), who will own approximately

  40% of the combined company. As a New York Stock Exchange (“NYSE”) listed company,

  HTA is required by NYSE listing rules to secure shareholder approval before issuing 20% or more

  of its outstanding common stock. Thus, the Proposed Transaction is contingent upon HTA

  shareholders voting to approve the proposed Share Issuance.

        4.      On June 10, 2022, the Board authorized the filing of the materially incomplete and

  misleading Form 424B3 Prospectus (the “Prospectus”) with the SEC.               Specifically, the

  Prospectus, which recommends that HTA stockholders vote their shares in favor of the Share

  Issuance and the Proposed Transaction, contains materially incomplete and misleading

  information concerning, among other things: (i) the potential conflicts of interested faced by the

  Company’s financial advisor, J.P. Morgan Securities LLC (“J.P. Morgan”); (ii) the financial

  projections for the Company and HR and the financial analyses performed by J.P. Morgan; and

  (iii) the background leading to the Proposed Transaction.




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          5.      The failure to adequately disclose such material information constitutes a violation

  of Sections 14(a) and 20(a) of the Exchange Act as HTA stockholders need such information in

  order to make a fully informed decision in connection with the Proposed Transaction.

          6.      The special meeting for HTA stockholders to vote on the Proposed Transaction is

  currently scheduled for July 15, 2022. It is imperative that such Exchange Act violations are

  promptly cured to enable Plaintiff and HTA’s other shareholders to make an informed decision

  whether to vote their shares in favor of the Share Issuance and the Proposed Transaction.

  Therefore, Plaintiff seeks to enjoin the stockholder vote unless and until such Exchange Act

  violations are cured.

                                   JURISDICTION AND VENUE

          7.      This Court has jurisdiction over the claims asserted herein for violations of Sections

 14(a) and 20(a) of the Exchange Act and SEC Rule 14a-9 promulgated thereunder pursuant to

 Section 27 of the Exchange Act, 15 U.S.C. § 78aa, and 28 U.S.C. § 1331 (federal question

 jurisdiction).

          8.      Personal jurisdiction exists over the defendants because each defendant either

 conducts business in or maintains operations within this District, or is an individual with sufficient

 minimum contacts with this District so as to make the exercise of jurisdiction by this Court

 permissible under traditional notions of fair play and substantial justice.

          9.      Venue is proper in this District pursuant to 28 U.S.C. § 1391 because a portion of

 the transactions and wrongs complained of herein occurred in this District.

                                            THE PARTIES

          10.     Plaintiff is, and has been at all relevant times, the owner of shares of HTA common

 stock.




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          11.   Defendant HTA is a Maryland corporation, with its principal executive offices

 located at 16435 N. Scottsdale Road, Suite 320, Scottsdale, Arizona 85254. HTA’s shares trade

 on the New York Stock Exchange under the ticker symbol “HTA.”

          12.   Defendant W. Bradley Blair, II has been Chairman of the Board and a director of

 the Company at all relevant times.

          13.   Defendant Reshma Block has been a director of the Company at all relevant times.

          14.   Defendant Vicki U. Booth has been a director of the Company at all relevant times.

          15.   Defendant H. Lee Cooper has been a director of the Company at all relevant times.

          16.   Defendant Warren D. Fix has been a director of the Company at all relevant times.

          17.   Defendant Peter N. Foss has been Interim President, Chief Executive Officer and a

 director of the Company at all relevant times.

          18.   Defendant Jay P. Leupp has a director of the Company at all relevant times.

          19.   Defendant Constance B. Moore has been a director of the Company at all relevant

 times.

          20.   Defendants identified in paragraphs 12-19 are collectively referred to herein as the

 “Board” or the “Individual Defendants.”

                               SUBSTANTIVE ALLEGATIONS

 Background of the Company

          21.   HTA is a publicly-traded real estate investment trust and is the largest dedicated

 owner and operator of medical office buildings (“MOBs”) in the U.S. The Company focuses on

 owning and operating MOBs that serve the future of healthcare delivery and are located on health

 system campuses, near university medical centers, or in community core outpatient locations.

 HTA is the sole general partner of Company OP and derives its income from its partnership interest




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 in Company OP. As of March 31, 2022, Company OP’s portfolio consisted of approximately 26.0

 million leasable square feet, including 452 medical office buildings and 18 other healthcare

 facilities.

 The Proposed Transaction

         22.    On February 28, 2022, HTA announced that it had entered into the Proposed

 Transaction, stating, in relevant part:

         NASHVILLE, Tennessee and SCOTTSDALE, Arizona, February 28, 2022
         — Healthcare Realty Trust Incorporated (NYSE:HR) (“Healthcare Realty” or
         “HR”) and Healthcare Trust of America, Inc. (NYSE: HTA) (“Healthcare Trust of
         America” or “HTA”) today announced that they have agreed to enter into a strategic
         business combination. HTA shareholders will receive a total implied value of
         $35.08 per share comprised of a special cash dividend of $4.82 per share and a
         transaction exchange ratio of 1:1 based on HR’s unaffected price of $30.26 on
         February 24, 2022. This transaction brings together two of the largest owners of
         medical office buildings, creating the preeminent, pure-play medical office
         building REIT and positions the combined company (the “Company”) to create
         long-term shareholder value. The Company will have a pro forma equity market
         capitalization of approximately $11.6 billion and a total enterprise value of $17.6
         billion based on the implied values at market close on February 24, 2022.

         Leadership and Organization

         The Company will be led by the Healthcare Realty management team, with Todd
         Meredith as President and Chief Executive Officer and Kris Douglas as Executive
         Vice President and Chief Financial Officer. Upon completion of the transaction, the
         new Company will continue to operate with the Healthcare Realty name and trade
         on the NYSE under the ticker symbol HR.

         The Company will have a highly qualified, diverse Board of Directors comprised
         of nine existing directors of Healthcare Realty, three members of the Healthcare
         Trust of America Board, and one new member to be mutually agreed upon by the
         existing HR and HTA directors and appointed prior to closing of the transaction.
         Knox Singleton, Chairman of the Healthcare Realty Board, will be Chairman of the
         Company and Brad Blair, Chairman of the Healthcare Trust of America Board, will
         be appointed Vice Chairman.

         Upon completion of the transaction, the Company’s headquarters will be based in
         Nashville, with additional corporate offices in Scottsdale and Charleston. The
         Company will implement a detailed integration process to ensure continuity for
         tenants, employees and all stakeholders.




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       “We are pleased to announce this strategic transaction, which unites two highly
       complementary medical office portfolios and represents a rare opportunity to create
       a sector-leading REIT in terms of both size and quality. We believe all shareholders
       will benefit from the Company’s expanded national footprint from HR’s Seattle
       portfolio to HTA’s Boston portfolio. The Company will have unmatched market
       scale in concentrated clusters, meaningful corporate and operational synergies, and
       a larger development pipeline. We believe this transaction will be accretive through
       near term synergies with additional value from operational upside. It will also
       strengthen the combined balance sheet, enhance liquidity and improve access to
       capital. This combination provides a significant value creation opportunity for
       shareholders,” stated Todd Meredith, President and Chief Executive Officer,
       Healthcare Realty.

       “This transformative transaction joins two premier real estate companies with a
       combined value that we believe is much greater than the sum of its parts, with the
       operational and financial scale necessary to compete and drive sustainable value
       creation. HTA shareholders will realize an attractive premium via a special cash
       dividend while being able to fully participate in the future growth prospects of a
       powerful, sector leading MOB REIT, led by a seasoned, well-respected
       management team. This transaction is the culmination of a thorough strategic
       review process and we are pleased with the result for our shareholders, employees
       and tenants. We are confident this is the best path forward for HTA,” stated Brad
       Blair, Chairman of the Board, Healthcare Trust of America.

       Key Benefits

       The combination of Healthcare Realty and Healthcare Trust of America is expected
       to result in significant strategic, operational and financial benefits to shareholders,
       including:

          •   Creates Preeminent, High Quality MOB REIT: With 727 properties
              totaling 44 million square feet, the Company will be the largest pure-play
              MOB REIT, with nearly double the square footage of the next largest MOB
              portfolio. The Company will own the largest portfolio of on or adjacent to
              hospital campus properties comprising 28.2 million square feet. 94% of the
              portfolio’s square feet will be in top 100 MSAs.

          •   Achieves Critical Scale with Enhanced Clusters: The Company will own
              over 1 million square feet in 14 distinct markets, representing over 50% of
              the portfolio’s square feet. Nearly 80% of the portfolio’s square footage will
              be located in markets with over 500,000 square feet. Meaningful scale in
              markets drives operational efficiencies for tenants and incremental leasing
              and investment volumes. Across the entire portfolio, the Company will have
              147 clusters, each comprised of two to eleven properties within two miles
              of each other and averaging approximately 195,000 square feet per cluster.




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          •   Broadens Relationships and Portfolio Diversification: The portfolio will
              include properties associated with 57 of the Top 100 health systems in the
              U.S. on or adjacent to 231 hospital campuses. The top 10 tenants in the
              portfolio will represent 22.6% of the portfolio’s square feet with no single
              tenant representing more than 5.2%.

          •   Expands Development Pipeline: The Company will have an embedded
              development pipeline in excess of $2 billion, concentrated in high growth
              markets such as Seattle, Houston, Denver, Dallas and Raleigh.

          •   Material Cost Synergies: The Company expects to realize annual run rate
              cost synergies of $33 – 36 million within 12 months of closing from the
              elimination of duplicative corporate and public company costs.

          •   Accretive with Operational Upside: The transaction is expected to be
              accretive to Healthcare Realty’s per share results assuming full realization
              of synergies. Longer term, the Company expects to benefit from enhanced
              leasing volumes to drive occupancy and rent growth across the portfolio as
              well as property level cost savings.

          •   Greater Access to Capital and Balance Sheet Strength: The Company
              intends to maintain a flexible, investment grade-rated balance sheet with a
              well staggered debt maturity profile. With enhanced size and scale, the
              Company expects to benefit from greater liquidity, higher index weightings
              and reduced borrowing costs over time.

       Transaction Structure

       At closing, each share of HR common stock will be exchanged for one share of
       HTA common stock, at a fixed ratio. In addition, a special cash dividend of $4.82
       per share will be distributed to HTA shareholders. Taken together and based on
       HR’s share price at the close of markets on February 24, 2022, HTA shareholders
       will realize an implied value of $35.08 per HTA share, representing an 18.2%
       premium to HTA’s share price at the close of markets on February 24, 2022. This
       combination is structured as a reverse merger whereby Healthcare Trust of America
       will be the corporate successor and the Company’s name will continue as
       Healthcare Realty Trust Incorporated. Pro forma for the transaction HR and HTA
       shareholders will own 39% and 61% of the Company, respectively.

       The special cash dividend of approximately $1.1 billion will be financed through
       joint venture transactions and asset sales. JPMorgan Chase Bank, N.A. has
       provided a commitment letter to Healthcare Trust of America for a $1.7 billion debt
       financing for the transaction upon the terms and conditions set forth in the letter.
       The transaction is expected to close in the third quarter of 2022, subject to
       customary closing conditions, including the approval of both Healthcare Realty and




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        Healthcare Trust of America shareholders. The transaction was unanimously
        approved by the Board of Directors of HR and the Board of Directors of HTA.

        Advisors

        Citigroup Global Markets Inc. is serving as lead financial advisor, Scotiabank is
        serving as financial advisor, and Hunton Andrews Kurth LLP is acting as legal
        advisor to Healthcare Realty. J.P. Morgan Securities LLC is acting as exclusive
        financial advisor and McDermott Will & Emery LLP is acting as legal advisor to
        Healthcare Trust of America.

 The Materially Incomplete and Misleading Prospectus

        23.     On June 10, 2022, the Board caused to be filed a materially incomplete and

 misleading Prospectus with the SEC. The Prospectus, which recommends that HTA stockholders

 vote their shares in favor of the Proposed Transaction, fails to disclose material information to

 Company stockholders, or provides them with materially misleading information, concerning: (i)

 the potential conflicts of interested faced by J.P. Morgan; (ii) the financial projections for the

 Company and HR and the financial analyses performed by J.P. Morgan; and (iii) the background

 leading to the Proposed Transaction.

 Material Misrepresentations and/or Omissions Concerning J.P. Morgan’s Potential Conflicts of
 Interest

        24.     The Prospectus fails to disclose material information concerning the potential

 conflicts of interest faced by the Company’s financial advisor, J.P. Morgan.

        25.     Specifically, the Prospectus fails to disclose the fees J.P. Morgan expects to receive

 for arranging and/or providing financing to HTA in connection with the Proposed Transaction,

 including with respect to J.P. Morgan’s participation in the committed financing of $1.125 billion

 in the form of a term loan facility. See Prospectus at 64-65, 84.

        26.     When an advisor stands to earn fees through a financing role if a proposed

 transaction is completed, this incentivizes the advisor to push a deal through regardless of its merits




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 – creating a serious conflict of interest that compromises the independence of the advisor’s advice.

 Indeed, J.P. Morgan may stand to earn more from financing the Proposed Transaction than it stands

 to earn from advising on it. Thus, J.P. Morgan was incentivized to push for and recommend the

 Proposed Transaction in order to receive its advisory fee and the lucrative undisclosed financing

 fees.

 Material Misrepresentations and/or Omissions Concerning HTA’s and HR’s Financial
 Projections and HTA’s Financial Analyses

         27.    The Prospectus fails to disclose material information concerning the financial

 projections for HTA and HR.

         28.    For example, with respect to the Company’s and HR’s financial projections, the

 Prospectus fails to disclose all line items underlying: (i) Net Operating Income (“NOI”); (ii)

 EBITDA; (iii) Funds from Operations; (iv) Funds Available for Distribution; and (v) Unlevered

 Free Cash Flow.

         29.    The Prospectus also fails to disclose material information concerning J.P. Morgan’s

 financial analyses.

         30.    With respect to J.P. Morgan’s Discounted Cash Flow Analysis of each of HR and

 HTA, the Prospectus fails to disclose a quantification of: (i) the terminal values of each company;

 and (ii) the inputs and assumptions underlying the discount rates ranging from 6.65% to 7.15%.

         31.    With respect to J.P. Morgan’s Public Trading Multiples analysis, the Prospectus

 fails to disclose: (i) the individual multiples and financial metrics for each of the companies

 observed by J.P. Morgan; and (ii) the projected same store NOI for the Company and HR for the

 year ending December 31, 2022.




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        32.     With respect to J.P. Morgan’s Selected Transaction Analysis, the Prospectus fails

 to disclose: (i) the individual multiples and financial metrics for each of the transactions observed

 by J.P. Morgan; and (ii) the Company’s projected same store NOI used in the analysis.

 Material Misrepresentations and/or Omissions Concerning the Background of the Proposed
 Transaction

        33.     The Prospectus fails to disclose material information concerning the background

 leading to the Proposed Transaction.

        34.     Specifically, the Prospectus sets forth:

        Throughout October 2021, the Company and its advisors negotiated and
        executed non-disclosure and standstill agreements, which we refer to individually
        as a Non-Disclosure and Standstill Agreement and collectively as the Non-
        Disclosure and Standstill Agreements, with nine potential counterparties that were
        contacted as part of the strategic alternatives review process, including HR on
        October 28, 2021.

 Prospectus at 39. The Prospectus, however, fails to disclose whether any of the non-disclosure

 agreements executed by parties throughout the sale process include a “don’t-ask, don’t-waive”

 standstill provision that is still in effect and presently precluding any of the parties from submitting

 a topping bid for the Company.

        35.     In sum, the omission of the above-referenced information renders statements in the

 “Opinion of the Company Financial Advisor,” “Certain Unaudited Prospective Financial

 Information,” and “Background of the Merger” sections of the Prospectus materially incomplete

 and misleading in contravention of the Exchange Act. Absent disclosure of the foregoing material

 information prior to the stockholder vote, Plaintiff and the other stockholders of HTA will be

 unable to make a sufficiently informed decision in connection with the Share Issuance and the

 Proposed Transaction and are thus threatened with irreparable harm warranting the injunctive

 relief sought herein.




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                                      CLAIMS FOR RELIEF

                                              COUNT I

   Claims for Violation of Section 14(a) of the Exchange Act and Rule 14a-9 Promulgated
                 Thereunder Against the Individual Defendants and HTA

        36.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

        37.     The Individual Defendants disseminated the false and misleading Prospectus,

 which contained statements that, in light of the circumstances under which they were made,

 omitted to state material facts necessary to make the statements therein not materially misleading,

 in violation of Section 14(a) of the Exchange Act and Rule 14a-9. HTA is liable as the issuer of

 these statements.

        38.     The Prospectus was prepared, reviewed, and/or disseminated by the Individual

 Defendants. By virtue of their positions within the Company, the Individual Defendants were

 aware of this information and their duty to disclose this information in the Prospectus.

        39.     The Individual Defendants were at least negligent in filing the Prospectus with

 these materially false and misleading statements.

        40.     The omissions and false and misleading statements in the Prospectus are material

 in that a reasonable stockholder will consider them important in deciding how to vote on the Share

 Issuance and the Proposed Transaction. In addition, a reasonable investor will view a full and

 accurate disclosure as significantly altering the total mix of information made available in the

 Prospectus and in other information reasonably available to stockholders.

        41.     The Prospectus is an essential link in causing Plaintiff and the Company’s

 stockholders to approve the Proposed Transaction.

        42.     By reason of the foregoing, defendants violated Section 14(a) of the Exchange Act

 and Rule 14a-9 promulgated thereunder.




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        43.     Because of the false and misleading statements in the Prospectus, Plaintiff is

 threatened with irreparable harm.

                                              COUNT II

                    Claims for Violation of Section 20(a) of the Exchange Act
                               Against the Individual Defendants

        44.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

        45.     The Individual Defendants acted as controlling persons of HTA within the meaning

 of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as officers

 and/or directors of HTA and participation in and/or awareness of the Company’s operations and/or

 intimate knowledge of the false statements contained in the Prospectus, they had the power to

 influence and control and did influence and control, directly or indirectly, the decision making of

 the Company, including the content and dissemination of the various statements that Plaintiff

 contends are false and misleading.

        46.     Each of the Individual Defendants was provided with or had unlimited access to

 copies of the Prospectus alleged by Plaintiff to be misleading prior to and/or shortly after these

 statements were issued and had the ability to prevent the issuance of the statements or cause them

 to be corrected.

        47.     In particular, each of the Individual Defendants had direct and supervisory

 involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

 the power to control and influence the particular transactions giving rise to the violations as alleged

 herein, and exercised the same. The Prospectus contains the unanimous recommendation of the

 Individual Defendants to approve the Proposed Transaction. They were thus directly involved in

 the making of the Prospectus.




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        48.      By virtue of the foregoing, the Individual Defendants violated Section 20(a) of the

 Exchange Act.

        49.      As set forth above, the Individual Defendants had the ability to exercise control

 over and did control a person or persons who have each violated Section 14(a) of the Exchange

 Act and Rule 14a-9, by their acts and omissions as alleged herein. By virtue of their positions as

 controlling persons, these defendants are liable pursuant to Section 20(a) of the Exchange Act. As

 a direct and proximate result of defendants’ conduct, Plaintiff is threatened with irreparable harm.

                                       PRAYER FOR RELIEF

        WHEREFORE, Plaintiff demands judgment and preliminary and permanent relief,

 including injunctive relief, in his favor on behalf of HTA, and against defendants, as follows:

        A.       Preliminarily and permanently enjoining defendants and all persons acting in

 concert with them from proceeding with, consummating, or closing the Proposed Transaction,

 including the stockholder vote on the Share Issuance, unless and until defendants disclose the

 material information identified above which has been omitted from the Prospectus;

        B.       In the event defendants consummate the Proposed Transaction, rescinding it and

 setting it aside or awarding rescissory damages to Plaintiff;

        C.       Directing the Individual Defendants to file a Prospectus that does not contain any

 untrue statements of material fact;

        D.       Awarding Plaintiff the costs of this action, including reasonable allowance for

 Plaintiff’s attorneys’ and experts’ fees; and

        E.       Granting such other and further relief as this Court may deem just and proper.




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                                        JURY DEMAND

       Plaintiff demands a trial by jury.



  Dated: June 22, 2022                           ACOCELLI LAW, PLLC


                                             By /s/ Richard A. Acocelli
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